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                         Exhibit A
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From: Sur, Indraneel (CIV) <Indraneel.Sur@usdoj.gov>
Date: Friday, May 2, 2025 at 5:19 PM
To: Dan Jacobson <dan@jacobsonlawyersgroup.com>, Pei, Sally <Sally.Pei@arnoldporter.com>,
Wirth, Stephen K. <Stephen.Wirth@arnoldporter.com>
Cc: Perdue, William <William.Perdue@arnoldporter.com>, Edelman, Christopher (CIV)
<Christopher.Edelman@usdoj.gov>, Giles, Richard C (CIV) <Richard.C.Giles@usdoj.gov>
Subject: RE: GHC Plaintiff Invoices


Good afternoon: We conveyed your questions to the agencies and can provide
the following responses:

On your first and third questions, USAID has been in touch with posts
overseas, although several could not be reached because of the time zone
difference and start of the weekend. The South African post noted that the
invoice for DAI Global on the spreadsheet is the wrong amount but they are
processing payment for the invoice they did receive as that is correct. The
South African post also noted that Panagora Group sent the invoice to the
wrong email address, but they got in touch with the vendor and now have the
invoice and are processing the payment. Several vendors have already
provided the missing invoices, and USAID is working on those.

USAID asks that your funding recipient clients please resend the missing
invoices which make up the bulk of the entries on the lists.

On your fourth question, State reviewed ABA’s data and noted 35 instances of
PMS-managed awards and 11 awards managed through the SF-270
process. For any unpaid payment requests submitted through the SF-270
process, there is no need to resubmit the forms—as previously advised, ABA
should reach out to the respective grants officer’s representative to follow-up,
in accordance with standard processes for payment requests.

On your second question, as we discussed before, it is not feasible to provide
mid-process tracking of the kind the question appears to contemplate.

Additionally, we are looking into your fifth question.

Sincerely,
* * *
Mr. Indraneel Sur
U.S. Dep’t of Justice | Civil Division | Federal Programs Branch
DOJ mobile (202) 532-5748 | indraneel.sur@usdoj.gov
        Case 1:25-cv-00402-AHA          Document 82-1         Filed 05/05/25       Page 3 of 11




From: Dan Jacobson <dan@jacobsonlawyersgroup.com>
Sent: Thursday, May 1, 2025 9:36 AM
To: Sur, Indraneel (CIV) <Indraneel.Sur@usdoj.gov>; Pei, Sally <Sally.Pei@arnoldporter.com>; Wirth,
Stephen K. <Stephen.Wirth@arnoldporter.com>
Cc: Perdue, William <William.Perdue@arnoldporter.com>; Edelman, Christopher (CIV)
<Christopher.Edelman@usdoj.gov>; Giles, Richard C (CIV) <Richard.C.Giles@usdoj.gov>
Subject: [EXTERNAL] Re: GHC Plaintiff Invoices

Indraneel,

Thank you for these responses, but we continue to lack information that we requested and that is
needed for our clients to receive their payments.

    •    For the entries that say “Issue w/Invoice, Resolve with COR or AOR,” you indicate that USAID
         will identify the AOR/COR and inform our clients, but we are perplexed why that hasn’t
         happened yet and therefore are asking that DOJ obtain this information and provide it to us by
         close of business Friday.

    •    For invoices that say “In Process,” you indicate that means they are under review, but we need
         to know where they are in the review process, how soon they will approved, or if there are any
         identified issues that are hindering payment. Please provide that us that information for each
         invoice labeled as “In Process” by close of business Friday.

    •    For invoices marked “not received,” some of our clients did submit these invoices and the
         agency is even confirming as much. For example, Democracy International had invoices marked
         “not received” on the spreadsheet you provided us from USAID, but when they reached out to
         their CO (who is luckily still employed at the agency), the CO confirmed that the agency does
         have the invoices, so DI does not need to resubmit them. We are concerned that other
         instructions on the spreadsheet are similarly incorrect. Can you provide more information on
         this disconnect by close of business on Friday?

    •    As for the State Department’s instruction to resubmit payment requests through the HHS PMS,
         the ABA reports that its State Department awards are not managed through the HHS PMS. The
         ABA submitted requests for reimbursements for costs of $1,120,289 for the time period
         through 1/24/25. These requests were submitted on SF-270 financial reports to either the State
         Department or the Mission (not HHS PMS). Should these forms also be resubmitted, and if so,
         can you explain why they need to be given that they are not managed through HHS PMS?

    •    The ABA also reports that they have received emails from an unknown email address—
         defendthespend@hhs.gov—asking ABA to upload additional information to justify USAID
         payments, including a “specific description of why the funds are necessary, and why they are
         aligned with the award.” That is notwithstanding the fact that the awards are marked “in
         transit” on the PMS dashboard, and the fact that the court has ordered these payments be
         made in its preliminary injunction. The email also directed ABA to upload documents to a
         suspicious “.com” (not “.gov”) website:
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         chttps://urldefense.com/v3/ https://pub-dts.doge.gov/bd4138fc-6121-4ec5-b735-
         0ea89ae0f17e-2d792bf8-cf48-4a45-8a24-e04ade25c2df-1745520402299 ;!!A-
         8UxJjp!LCe1pmH253xkomLlbQpA0ulAQwWHYxBQkKNZMPLFkTnlq7wuoJipcPsRUBpp9vmxnAsp
         bCpSVTy9tRFK2T6RB5j3VGBoY uVq 8$.

             o Is DOJ’s position that ABA must follow these unusual instructions?

             o If so, can you provide legal authority, by close of business on Friday, for requiring
                 Plaintiffs to submit this information to an entity seemingly different from the agency
                 paying the invoice? In addition, can you provide the legal authority for requiring
                 Plaintiffs to submit additional information to justify payments that the agencies are
                 mandated by a preliminary injunction to make?

    •    Finally, can you confirm that the agencies remain on track to complete all payments to Plaintiffs
         by May 5? If not, can you provide the reason why not?

Best,
Dan

From: Sur, Indraneel (CIV) <Indraneel.Sur@usdoj.gov>
Date: Wednesday, April 30, 2025 at 3:32 PM
To: Dan Jacobson <dan@jacobsonlawyersgroup.com>, Pei, Sally <Sally.Pei@arnoldporter.com>,
Wirth, Stephen K. <Stephen.Wirth@arnoldporter.com>
Cc: Perdue, William <William.Perdue@arnoldporter.com>, Edelman, Christopher (CIV)
<Christopher.Edelman@usdoj.gov>, Giles, Richard C (CIV) <Richard.C.Giles@usdoj.gov>
Subject: RE: GHC Plaintiff Invoices

Good afternoon: Attached here is the spreadsheet you mentioned in your second bullet
point about associational plaintiffs’ members, with “remarks” or “status” columns added
with information by USAID.

Sincerely,
* * *
Mr. Indraneel Sur
U.S. Dep’t of Justice | Civil Division | Federal Programs Branch
DOJ mobile (202) 532-5748 | indraneel.sur@usdoj.gov



From: Sur, Indraneel (CIV)
Sent: Tuesday, April 29, 2025 4:02 PM
To: Dan Jacobson <dan@jacobsonlawyersgroup.com>; Pei, Sally <Sally.Pei@arnoldporter.com>; Wirth,
Stephen K. <Stephen.Wirth@arnoldporter.com>
Cc: Perdue, William <William.Perdue@arnoldporter.com>; Edelman, Christopher (CIV)
<Christopher.Edelman@usdoj.gov>; Giles, Richard C (CIV) <Richard.C.Giles@usdoj.gov>
Subject: RE: GHC Plaintiff Invoices
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Good afternoon: We have inserted below USAID’s additional information today on your
last three bullet points:

   •    For each entry that says, “Issue w/Invoice, Resolve with COR or AOR,” can you identify who our
        client should contact to resolve the issue? Some of our clients report that they are not receiving
        responses from their COR/AOR. Is there a central email inbox that our clients should report
        issues to?


    For these entries USAID will identify the AOR/COR and have them reach out to the
   vendor.

   •    For each entry that says, “Invoice not received, resubmit,” can you please provide further
        instructions on how to resubmit? Some of our clients report that they have resubmitted invoices
        to their COR/AOR without any acknowledgement or response. Others have been told by their
        COR/AOR to resubmit invoices to “ei@usaid.gov,” but have received no acknowledgement or
        response. Again, is there a central email inbox that our clients should submit invoices to? Given
        the issues our clients have had getting confirmation that their messages are being received,
        moving forward, if our clients do not receive confirmation that their submissions have been
        received with the agency, our plan will be to forward to you the invoices or other information
        that our clients submit.


   That central email box address (ei@usaid.gov) is correct and is being monitored.
   There is an auto response to the sender when an invoice is submitted. USAID looked
   through that email box and did not find those invoices and asks that Plaintiffs
   resubmit the affected invoices that way.

   •    For each entry that says, “In Process,” can you provide us additional information on what that
        means?


   This means that the invoice has been received and currently under review by the
   program office. Once they approve the invoice as correct and proper for payment,
   then the finance team will process the payment.


Sincerely,

* * *
Mr. Indraneel Sur
U.S. Dep’t of Justice | Civil Division | Federal Programs Branch
DOJ mobile (202) 532-5748 | indraneel.sur@usdoj.gov


From: Sur, Indraneel (CIV) <Indraneel.Sur@usdoj.gov>
Sent: Monday, April 28, 2025 3:30 PM
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To: Dan Jacobson <dan@jacobsonlawyersgroup.com>; Pei, Sally <Sally.Pei@arnoldporter.com>; Wirth,
Stephen K. <Stephen.Wirth@arnoldporter.com>
Cc: Perdue, William <William.Perdue@arnoldporter.com>; Edelman, Christopher (CIV)
<Christopher.Edelman@usdoj.gov>; Giles, Richard C (CIV) <Richard.C.Giles@usdoj.gov>
Subject: Re: GHC Plaintiff Invoices

Good afternoon. On your first bullet point, State advised that some of the invocies listed in
the spreadsheets are paid or in process, and that State also provided reasons for the
rejections of some of the invoices, including information for resubmission of the correct
payment amounts and justifications which are documented in the HHS PMS
system. Please let us know if plaintiff ABA and associational plaintiff members Save the
Children and FHI 360 are unable to access the HHS PMS system to review the
justifications.

We are working to get you more on your other questions. I did say on our call that the
reasons for the revisions to the estimated payment completion date are described in the
status reports Defendants have filed.

Sincerely,

* * *

Mr. Indraneel Sur
U.S. Dep’t of Justice | Civil Division | Federal Programs Branch
DOJ mobile (202) 532-5748 | indraneel.sur@usdoj.gov


From: Dan Jacobson <dan@jacobsonlawyersgroup.com>
Sent: Friday, April 25, 2025 1:44 PM
To: Sur, Indraneel (CIV) <Indraneel.Sur@usdoj.gov>; Pei, Sally <Sally.Pei@arnoldporter.com>; Wirth,
Stephen K. <Stephen.Wirth@arnoldporter.com>
Cc: Perdue, William <William.Perdue@arnoldporter.com>; Edelman, Christopher (CIV)
<Christopher.Edelman@usdoj.gov>; Giles, Richard C (CIV) <Richard.C.Giles@usdoj.gov>
Subject: [EXTERNAL] Re: GHC Plaintiff Invoices

Indraneel,

Thank you for sending these spreadsheets. This email is to memorialize our conversation on
Wednesday and ask follow questions regarding the spreadsheets.



On our call, you explained that you were going to be sending these spreadsheets indicating the
status of the outstanding USAID payments to the plaintiffs. You explained that there were many
entries for which the agency says it has not received the invoice and asked our clients to
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resubmit it. We noted that this is the first that we or our clients are hearing of this issue. We
asked if you can commit that, moving forward, you or the agencies will provide immediate,
real-time information on any such issues that are interfering with payments. I believe you said
that you could not make that commitment on the call but would discuss that with the agencies.

We noted that the date by which you have said in the status reports that payments would be
completed to plaintiffs has repeatedly been extended, now until May 5, and asked for an
explanation of why that is. I believe the sole reason you gave was the need to communicate
with plaintiffs the issues in the spreadsheets you just sent (and a forthcoming similar
spreadsheet from the State Department). We asked if you can commit that all payments will be
completed by May 5 if plaintiffs promptly submit new invoices or other information called for in
the spreadsheets, and I believe you said you could not but would speak with the agencies.

Regarding the spreadsheets you just, we have the following questions and requests. Please
provide us response by EOD on Monday.

   •     Can you give us an update on when you will share information on our clients’/members’ unpaid
         invoices for State-funded awards?

   •     Can you provide us with information on unpaid invoices owed to GHC’s members? We included
         information from GHC’s members in the zip file of spreadsheets we shared earlier this week, but
         we do not see a tab for GHC in the spreadsheet you sent back.

   •     For each entry that says, “Issue w/Invoice, Resolve with COR or AOR,” can you identify who our
         client should contact to resolve the issue? Some of our clients report that they are not receiving
         responses from their COR/AOR. Is there a central email inbox that our clients should report
         issues to?

   •     For each entry that says, “Invoice not received, resubmit,” can you please provide further
         instructions on how to resubmit? Some of our clients report that they have resubmitted invoices
         to their COR/AOR without any acknowledgement or response. Others have been told by their
         COR/AOR to resubmit invoices to “ei@usaid.gov,” but have received no acknowledgement or
         response. Again, is there a central email inbox that our clients should submit invoices to? Given
         the issues our clients have had getting confirmation that their messages are being received,
         moving forward, if our clients do not receive confirmation that their submissions have been
         received with the agency, our plan will be to forward to you the invoices or other information
         that our clients submit.

   •     For each entry that says, “In Process,” can you provide us additional information on what that
         means?

Thank you for your attention to these issues.



Best,
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Dan

From: Sur, Indraneel (CIV) <Indraneel.Sur@usdoj.gov>
Date: Wednesday, April 23, 2025 at 6:26 PM
To: Dan Jacobson <dan@jacobsonlawyersgroup.com>, Pei, Sally <Sally.Pei@arnoldporter.com>,
Wirth, Stephen K. <Stephen.Wirth@arnoldporter.com>
Cc: Perdue, William <William.Perdue@arnoldporter.com>, Edelman, Christopher (CIV)
<Christopher.Edelman@usdoj.gov>, Giles, Richard C (CIV) <Richard.C.Giles@usdoj.gov>
Subject: Re: GHC Plaintiff Invoices

Thanks again for making time for the call this afternoon on short notice. Attached is the
compilation of the spreadsheets from the GHC Plaintiffs with a column containing
USAID’s remarks, based on the information USAID had as of this morning, which we
previewed for you on the call. We are working to get you additional information
concerning the requests to the Department of State.

Sincerely,

* * *

Mr. Indraneel Sur
U.S. Dep’t of Justice | Civil Division | Federal Programs Branch
DOJ mobile (202) 532-5748 | indraneel.sur@usdoj.gov


From: Dan Jacobson <dan@jacobsonlawyersgroup.com>
Sent: Wednesday, April 23, 2025 11:26 AM
To: Sur, Indraneel (CIV) <Indraneel.Sur@usdoj.gov>; Edelman, Christopher (CIV)
<Christopher.Edelman@usdoj.gov>
Cc: Pei, Sally <Sally.Pei@arnoldporter.com>; Wirth, Stephen K.
<Stephen.Wirth@arnoldporter.com>; Perdue, William <William.Perdue@arnoldporter.com>
Subject: [EXTERNAL] Re: GHC Plaintiff Invoices

Yes, we’re available for a call today at 430pm.

Best,

Dan



From: Sur, Indraneel (CIV) <Indraneel.Sur@usdoj.gov>
Date: Wednesday, April 23, 2025 at 10:56 AM
To: Dan Jacobson <dan@jacobsonlawyersgroup.com>, Edelman, Christopher (CIV)
<Christopher.Edelman@usdoj.gov>
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Cc: Pei, Sally <Sally.Pei@arnoldporter.com>, Wirth, Stephen K.
<Stephen.Wirth@arnoldporter.com>, Perdue, William <William.Perdue@arnoldporter.com>
Subject: Re: GHC Plaintiff Invoices

Good morning, counsel: We conveyed the new spreadsheets you sent to the agencies, and
hope to have additional information to provide this afternoon. May we ask: Are you available
for a call today at 4:30PM or later? Defendants do not agree with your other characterizations.

Sincerely,

* * *

Mr. Indraneel Sur
U.S. Dep’t of Justice | Civil Division | Federal Programs Branch
DOJ mobile (202) 532-5748 | indraneel.sur@usdoj.gov


From: Dan Jacobson <dan@jacobsonlawyersgroup.com>
Sent: Wednesday, April 23, 2025 10:27 AM
To: Sur, Indraneel (CIV) <Indraneel.Sur@usdoj.gov>; Edelman, Christopher (CIV)
<Christopher.Edelman@usdoj.gov>
Cc: Pei, Sally <Sally.Pei@arnoldporter.com>; Wirth, Stephen K.
<Stephen.Wirth@arnoldporter.com>; Perdue, William <William.Perdue@arnoldporter.com>
Subject: [EXTERNAL] Re: GHC Plaintiff Invoices

Indraneel,

Following up on my emails below, Defendants’ recent status reports have shown a marked
decrease in the rate of processing payments to Plaintiffs, even though the April 11 stay of the
Court’s preliminary injunction as to non-Plaintiffs should have freed up additional resources for
Defendants to process more payments to Plaintiffs. In addition, while Plaintiffs on April 15
provided Defendants with information on all outstanding payment requests, we are not aware
of any outstanding outreach from USAID or the State Department seeking additional
documentation or information. Please let us know by close of business today if there is any
information Defendants require from Plaintiffs in order to process payments. If not, Plaintiffs
intend to file a response to Defendants’ most recent status report telling the Court that
Defendants are not in compliance with the preliminary injunction regarding payments to
Plaintiffs.

Best,

Dan
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From: Sur, Indraneel (CIV) <Indraneel.Sur@usdoj.gov>
Date: Wednesday, April 16, 2025 at 4:23 PM
To: Dan Jacobson <dan@jacobsonlawyersgroup.com>, Edelman, Christopher (CIV)
<Christopher.Edelman@usdoj.gov>
Cc: Pei, Sally <Sally.Pei@arnoldporter.com>, Wirth, Stephen K.
<Stephen.Wirth@arnoldporter.com>, Perdue, William <William.Perdue@arnoldporter.com>
Subject: RE: GHC Plaintiff Invoices

Thank you for re-sending the spreadsheet, which we have conveyed to the agencies.

From: Dan Jacobson <dan@jacobsonlawyersgroup.com>
Sent: Wednesday, April 16, 2025 10:28 AM
To: Sur, Indraneel (CIV) <Indraneel.Sur@usdoj.gov>; Edelman, Christopher (CIV)
<Christopher.Edelman@usdoj.gov>
Cc: Pei, Sally <Sally.Pei@arnoldporter.com>; Wirth, Stephen K.
<Stephen.Wirth@arnoldporter.com>; Perdue, William <William.Perdue@arnoldporter.com>
Subject: [EXTERNAL] Re: GHC Plaintiff Invoices

Thank you. We realized that there may have been an issue opening the file I sent for MSH’s
invoices, so I am re-attaching it here in case your colleagues had trouble opening it.

Best,

Dan

From: Sur, Indraneel (CIV) <Indraneel.Sur@usdoj.gov>
Date: Tuesday, April 15, 2025 at 6:19 PM
To: Dan Jacobson <dan@jacobsonlawyersgroup.com>, Edelman, Christopher (CIV)
<Christopher.Edelman@usdoj.gov>
Cc: Pei, Sally <Sally.Pei@arnoldporter.com>, Wirth, Stephen K.
<Stephen.Wirth@arnoldporter.com>, Perdue, William <William.Perdue@arnoldporter.com>
Subject: RE: GHC Plaintiff Invoices

Good evening counsel, and thanks for your e-mail today with spreadsheets, which we
have conveyed to the pertinent agencies. As background, since the March 6 preliminary
injunction hearing we have received and conveyed to the agencies multiple e-mails from
Messrs. Wirth and Perdue identifying some of the members of the association Plaintiffs
to facilitate the agencies’ processing of payments for work completed prior to February
13.

Sincerely,

* * *

Mr. Indraneel Sur
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U.S. Dep’t of Justice | Civil Division | Federal Programs Branch
DOJ mobile (202) 532-5748 | indraneel.sur@usdoj.gov


From: Dan Jacobson <dan@jacobsonlawyersgroup.com>
Sent: Tuesday, April 15, 2025 1:27 PM
To: Sur, Indraneel (CIV) <Indraneel.Sur@usdoj.gov>; Edelman, Christopher (CIV)
<Christopher.Edelman@usdoj.gov>
Cc: Pei, Sally <Sally.Pei@arnoldporter.com>; Wirth, Stephen K.
<Stephen.Wirth@arnoldporter.com>; Perdue, William <William.Perdue@arnoldporter.com>
Subject: [EXTERNAL] GHC Plaintiff Invoices

Indraneel,

Pursuant to the court’s prior order that we are to meet and confer on any issues with regard to
payments, we wanted to provide you with updated information on outstanding invoices to
plaintiffs and plaintiffs’ members, in the hope that this will facilitate the government’s prompt
payment of outstanding invoices—many of which are now many months overdue. Attached are
spreadsheets detailing outstanding payments on

We also note that our plaintiffs and their members have not received any outreach from USAID
or State regarding any of these invoices, such as to request missing documentation. These
invoices are, from our perspective, fully documented and properly invoiced. But we are, of
course, prepared to provide the government with any information necessary to ensure prompt
payment under the court’s orders.

Thank you for your attention to these issues.

Best,

Dan

Daniel Jacobson
Jacobson Lawyers Group PLLC
1629 K Street NW, Suite 300
Washington, DC 20006
301-823-1148
